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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

JARRETT C. DEMPSEY,                        )
                                           )
               Plaintiff,                  )
                                           )
v.                                         )   CIVIL ACTION NO.
                                           )
CAPITAL ACCOUNTS, LLC,                     )
EQUIFAX INFORMATION                        )
SERVICES LLC, and                          )
TRANS UNION LLC,                           )
                                           )
               Defendants.                 )
                                    COMPLAINT

         Comes now Jarrett C. Dempsey, Plaintiff, through counsel, and files his

Complaint for Violations of the FCRA, FDCPA, and GFBPA showing this Court the

following:

1. This Court has jurisdiction over this matter pursuant to the Fair Credit Reporting

     Act, 15 U.S.C. Section 1681(p) and the Fair Debt Collection Practices Act

     (FDCPA) 15 U.S.C. §1692 et seq.. Venue lies in the Northern District of Georgia

     as Plaintiff’s claims arose from acts of Defendants perpetrated therein.

                            PRELIMINARY STATEMENT

     2. Plaintiff brings this action for damages based upon Defendants’ violations of

         the FDCPA, FCRA, and GFBPA.



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3. Capital Accounts is a foreign corporation licensed to do business in the State

    of Georgia that may be served c/o Incorp. Services, Inc., 2000 Riveredge

    Parkway, NW, Suite 885, Atlanta, Georgia 30328.

4. Equifax Information Services LLC (“Equifax”) is a domestic limited liability

    company with its principal office located at 1550 Peachtree Street N.W.,

    Atlanta GA 30309 and may be served through its registered agent, Lisa

    Stockard, at that address.

5. Trans Union LLC (“Trans Union”) is a foreign limited liability company

    licensed to do business in the state of Georgia that can be served through its

    registered agent, c/o Prentice-Hall Corporation System, 40 Technology

    Parkway South, #300, Norcross, GA, 30092.

6. Equifax and Trans Union are consumer reporting agencies (hereinafter

    “CRAs”), as defined in section 1681(f) of the FCRA, regularly engaged in the

    business of assembling, evaluating, and dispersing information concerning

    consumers for the purpose of furnishing consumer reports, as defined in

    section 1681a(d) of the FCRA, to third parties.

                         FACTUAL ALLEGATIONS

7. Plaintiff’s creditworthiness has been repeatedly compromised by the acts and

    omissions of Defendants.




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8. Since childhood, Plaintiff went to an office of McDonough Dental Center near

    his home for dental treatment.

9. It was McDonough Dental Center’s practice to present Plaintiff with a quote

    for treatment prior to performing dental treatment on Plaintiff, and Plaintiff

    would pre-approve the bill and treatment.

10. After treatment, McDonough Dental Center would bill Plaintiff for the

    treatment he had just received prior to him leaving the office, and Plaintiff

    paid the balance before leaving.

11. At no time while his location of McDonough Dental Center was open did

    McDonough Dental Center present Plaintiff with a bill after treatment that

    varied from the amount that he preapproved.

12. After the Dental office to which Plaintiff went for Dental treatment closed,

    Capital Accounts began contacting Plaintiff to demand payment of $284,

    which it claimed was originally owed to McDonough Dental Center.

13. From first contact from Capital Accounts, Plaintiff disputed and continues to

    dispute that he failed to make payment on any balance owed to McDonough

    Dental Center.

14. Despite Plaintiff disputing the debt, Capital Accounts has refused to verify the

    debt, what it is for, the balance, or cease collection until it verifies the debt.




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15. Despite the inaccuracy of the claimed balance owed, Capital Accounts started

    and continues to report false, derogatory information to CRAs including

    Equifax and Trans Union, stating that Plaintiff had an unpaid balance owed to

    Capital Accounts on an original debt to McDonough Dental Center in the

    amount of $284.

16. Defendants Equifax and Trans Union placed the disputed information into

    Plaintiff’s credit file.

17. On January 24, 2019, Plaintiff sent a credit dispute, of which a copy is

    attached as Exhibit 1 to Trans Union, stating that the disputed item is

    inaccurate, that Plaintiff does not owe McDonough Dental Center any money,

    and that neither Capital Accounts nor McDonough Dental Center have

    provided any documentation of the purported debt.

18. On June 7, 2019, Plaintiff sent a credit dispute, of which a copy is attached as

    Exhibit 2 to Trans Union, stating that the disputed item is inaccurate, that

    Plaintiff does not owe McDonough Dental Center any money, and that neither

    Capital Accounts nor McDonough Dental Center have provided any

    documentation of the purported debt.

19. On June 7, 2019, Plaintiff sent a credit dispute, of which a copy is attached as

    Exhibit 3 to Equifax, stating that the disputed item is inaccurate, that Plaintiff

    does not owe McDonough Dental Center any money, and that neither Capital


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      Accounts nor McDonough Dental Center have provided any documentation

      of the purported debt.

20. The disputed information remained in Plaintiff’s files with Defendants

      Equifax and Trans Union.

21. After going under contract contingent to financing on a home, Plaintiff

      applied for a mortgage loan in July of 2020.

22. On July 17, 2020, Plaintiff was denied a mortgage loan “[d]ue to Credit Score

      regarding derogatory credit history” at least in part due to Defendants’

      reporting of the purported McDonough Dental Center debt.

23. Following this denial, Plaintiff again sent disputes to Trans Union and

      Equifax, of which copies are attached as Exhibits 4 and 5.

24. However, the disputed item remains in Plaintiffs’ credit files and on Plaintiff’s

      credit reports.

 I.      FIRST CLAIM FOR RELIEF AGAINST EQUIFAX AND TRANS
         UNION: VIOLATION OF THE FAIR CREDIT REPORTING ACT
         (FCRA), 15 U.S.C. § 1681e(b)

25. Plaintiff re-alleges and incorporates paragraphs 7 through 24 above as if fully

      set out herein.

26. Equifax and Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish

      or to follow reasonable procedures to assure maximum possible accuracy in




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       the preparation of the credit report and credit files they publish and maintain

       concerning Plaintiff.

27. As a result of this conduct, action and inaction of Equifax and Trans Union,

       Plaintiff suffers and has suffered damage by loss of and limited credit, loss of

       the ability to purchase and benefit from credit, and the mental and emotional

       pain and anguish and the humiliation and embarrassment of credit denials.

28. Equifax and Trans Union’s conduct, action and inaction was willful, rendering

       them each liable for punitive damages in an amount to be determined by the

       Court pursuant to 15 U.S.C. § 1681n.

29. In the alternative, Equifax and Trans Union’s conduct was negligent, entitling

       Plaintiff to recover under 15 U.S.C. 1681o.

30. Plaintiff is entitled to recover costs and attorney’s fees from Equifax and Trans

       Union in an amount to be determined by the Court pursuant to 15 U.S.C. §

       1681n and/or § 1681o.

 II.      SECOND CLAIM FOR RELIEF AGAINST EQUIFAX AND
          TRANS UNION: VIOLATION OF THE FAIR CREDIT
          REPORTING ACT (FCRA), 15 U.S.C. § 1681i

31. Plaintiff re-alleges and incorporates paragraphs 7 through 30 above as if fully

       set out herein.




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32. Equifax and Trans Union each violated 15 U.S.C. § 1681i on multiple

    occasions by failing to delete inaccurate information in Plaintiff’s credit file

    after receiving actual notice of inaccuracies.

33. Equifax and Trans Union received multiple disputes from the Plaintiff

    indicating additional information beyond what was contained in Plaintiff’s

    credit files that the factual basis for Capital Accounts’ reporting was not

    accurate.

34. Equifax and Trans Union violated 15 U.S.C. § 1681i on multiple occasions

    by failing to conduct lawful reinvestigations.

35. Equifax and Trans Union violated 15 U.S.C. § 1681i on multiple occasions

    by failing to maintain reasonable procedures with which to verify disputed

    information in Plaintiff’s credit file.

36. Equifax and Trans Union violated 15 U.S.C. § 1681i on multiple occasions

    by relying upon verification from sources it has reason to know are unreliable,

    namely Capital Accounts.

37. As a result of the actions and inaction of Equifax and Trans Union, Plaintiff

    suffered damages by loss of and limited credit; loss of the ability to purchase

    and benefit from credit; pecuniary costs of disputing credit information; and

    the mental and emotional pain, anguish, and humiliation of repeatedly having




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    the credit information verified as accurate despite it being false, thus

    remaining in his credit report, and the embarrassment of credit denials.

38. Equifax and Trans Union each have a regular practice or policy of ignoring

    disputed information from a consumer if it contradicts the information

    provided by a credit furnisher such as Capital Accounts after a dispute is sent

    to the furnisher.

39. It is objectively unreasonable to rely on a furnisher’s verification of

    information without conducting an independent investigation if the

    furnisher’s verification contradicts facts provided in a dispute when the

    furnisher and consumer’s claimed facts contradict each other.

40. Ignoring a factual dispute raised by a consumer because a furnisher verifies

    information that contradicts the information provided by the consumer in her

    or his dispute runs a risk of violating the FCRA that is substantially greater

    than the risk associated with a merely careless investigation of a dispute of

    fact.

41. On information and belief, Equifax and Trans Union relied entirely on Capital

    Accounts’ response to the disputed information without conducting an

    investigation of their own.

42. Beyond verifying that Capital Accounts claimed the reported information was

    accurate, Equifax made no effort of its own to verify the disputed information.


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43. Beyond verifying that Capital Accounts claimed the reported information was

    accurate, Trans Union made no effort of its own to verify the disputed

    information.

44. Thus, Equifax and Trans Union’s reckless disregard of the information

    provided by Mr. Dempsey, that he had paid his balance was willful, rendering

    them each liable for actual or statutory damages, and punitive damages in

    amounts to be determined pursuant to 15 U.S.C. § 1681n.

45. In the alternative, Equifax and Trans Union’s conduct was negligent entitling

    Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

46. Plaintiff is entitled to recover costs and attorney’s fees from Equifax and Trans

    Union in amounts to be determined pursuant to 15 U.S.C. § 1681n and/or

    1681o.

 III.   FIRST CLAIM FOR RELIEF AGAINST CAPITAL ACCOUNTS:
        VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15
        U.S.C. § 1681s-2(b)

47. Plaintiff re-alleges and incorporates paragraphs 7 through 46 above as if fully

    set out herein.

48. At no time did Capital Accounts have a reasonable or good faith belief in the

    veracity of any of the Capital Accounts Representations.

49. Plaintiff has repeatedly contested the Capital Accounts Representations to

    Capital Accounts.


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50. Plaintiff disputed the Capital Accounts Representations to Equifax and Trans

    Union.

51. Equifax and Trans Union then forwarded on these disputes to Capital

    Accounts and otherwise notified Capital Accounts of Plaintiff’s disputes.

52. On all occasions that Plaintiff disputed Capital Accounts’ furnished credit

    information, Capital Accounts verified, without justification, that the Capital

    Accounts Representations were accurate.

53. All Defendants failed to conduct an adequate investigation of Plaintiff’s

    dispute, which is clearly indicated by the fact that all Defendants continue to

    report the Capital Accounts Representations.

54. Capital Accounts re-verified the Capital Accounts Representations to Equifax

    and Trans Union repeatedly.

55. Capital Accounts violated the Fair Credit Reporting Act, 15 U.S.C. § 1681s-

    2(b) by continuing the Capital Accounts Representations within Plaintiff’s

    credit files with Equifax and Trans Union without also including a notation

    that this debt was disputed.

56. Capital Accounts violated the Fair Credit Reporting Act, 15 U.S.C. § 1681s-

    2(b) by failing to fully and properly investigate Plaintiff’s disputes of the

    Capital Accounts Representations.




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57. Capital Accounts violated the Fair Credit Reporting Act, 15 U.S.C. § 1681s-

    2(b) by failing to review all relevant information regarding same; by failing

    to accurately respond to Equifax or Trans Union.

58. Capital Accounts violated the Fair Credit Reporting Act, 15 U.S.C. § 1681s-

    2(b) by failing to permanently and lawfully correct their own internal records

    to prevent the re-reporting of the Capital Accounts Representations to the

    consumer reporting agencies.

59. As a result of this conduct, action and inaction of Capital Accounts, Plaintiff

    suffered damage by loss of and limited credit; loss of the ability to purchase

    and benefit from credit; and the mental and emotional pain, anguish,

    humiliation, and      embarrassment     of having      the   Capital     Accounts

    Representations repeatedly verified in his credit file, and the credit denials and

    worry that his finances will be negatively impacted.

60. Capital Accounts’ conduct, action and inaction was willful, rendering it liable

    for actual, statutory, and punitive damages in an amount to be determined

    pursuant to 15 U.S.C. § 1681n. In the alternative, Capital Accounts was

    negligent entitling Plaintiff to recover actual damages under 15 U.S.C. 1681o.

61. Plaintiff is entitled to recover costs and attorney’s fees from Capital Accounts

    in an amount to be determined pursuant to 15 U.S.C. § 1681n and § 1681o.




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 IV.   SECOND CLAIM FOR RELIEF AGAINST CAPITAL
       ACCOUNTS: VIOLATIONS OF FDCPA, 15 U.S.C. § 1692d

62. Capital Accounts, LLC is a “Debt Collector” as defined by §1692a(6) of the

    FDCPA, because it regularly use the mail and/or the telephone to collect, or

    attempt to collect, delinquent consumer accounts.

63. Defendant Capital Accounts identifies itself as a “Debt Collector” and is

    engaged in the business of collecting or attempting to collect, directly or

    indirectly, defaulted debts owed or due or asserted to be owed or due to others.

64. The subject purported debt for $284 is a “debt” as defined by FDCPA

    §1692a(5) as it arises out of a transaction due or asserted to be owed or due to

    another for personal, family, or household purposes.

65. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from

    engaging “in any conduct the natural consequence of which is to harass,

    oppress, or abuse any person in connection with the collection of a debt.”

    §1692d(5) further prohibits, “causing a telephone to ring or engaging any

    person in telephone conversation repeatedly or continuously with intent to

    annoy, abuse, or harass any person at the called number.”

66. Defendant violated §1692d, and d(5) when it repeatedly called Plaintiff after

    being notified to stop. Defendant called Plaintiff at least 25 times after he

    demanded that it stop calling. This repeated behavior of systematically calling

    Plaintiff’s phone in spite of his demands was harassing and abusive. The
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      frequency and volume of calls shows that Defendant willfully ignored

      Plaintiff’s pleas with the goal of annoying and harassing Plaintiff. 30.

      Defendant was notified by Plaintiff that its calls were not welcomed. As such,

      Defendant knew that its conduct was inconvenient and harassing to Plaintiff.

 V.      VIOLATION OF THE GEORGIA FAIR BUSINESS PRACTICES
         ACT (FBPA), O.C.G.A. § 10-1-390, et seq.

67. Plaintiff re-alleges and incorporates paragraphs 62 through 66 above as if fully

      set out herein.

68. The FDCPA violations above are per se intentional violations by Defendants

      of the Georgia Fair Business Practices Act (FBPA), O.C.G.A. § 10-1-390,

      which prohibits any unfair or deceptive acts and practices in the conduct of

      consumer transactions. See 1st Nationwide Collection Agency, Inc. v.

      Werner, 288 Ga. App. 457, 459 (2007) (“a violation of the FDCPA is clearly

      considered a violation of the Federal Trade Commission Act… so… the trial

      court correctly ruled that Nationwide's violation of the FDCPA also

      constituted a violation of the FBPA.”).

69. Capital Accounts has violated the GFBPA by use of unlawful acts and

      practices within the meaning of O.C.G.A. § 10-1-393. To wit, Plaintiff’s

      phone calls to Plaintiff transgress OCGA § 16-11-39.1(a), which forbids and

      defines “Harassing Communication” as when one “[c]ontacts another person

      repeatedly via telecommunication… for the purpose of harassing, molesting,
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    threatening, or intimidating such person or the family of such person.” OCGA

    § 16-11-39.1.

70. Plaintiff sent an ante litem demand to Capital Accounts but received no offer

    to settle his claim.

71. Plaintiff has suffered damages because of Plaintiff’s violations of the GFBPA

    in an amount to be proven at trial, including emotional distress, annoyance,

    and aggravation.

72. Plaintiff is entitled to treble damages pursuant to O.C.G.A. § 10-1-399.

73. Plaintiff is entitled to the recovery of reasonable attorney’s fees pursuant to

    O.C.G.A. § 10-1-399.

74. Capital Accounts’ conduct caused Plaintiff to suffer mental or emotional

    anguish as more fully described, supra.

75. Plaintiff sent correspondence to Defendant Capital Accounts in a good faith

    effort to resolve her claims.

76. Defendant Capital Accounts failed to respond to Plaintiff’s good faith effort

    to settle her claims with any reasonable offer.

77. Pursuant to O.C.G.A. § 10-1-399, Plaintiff is entitled to the recovery of treble

    damages.

78. Plaintiff is entitled to the recovery of reasonable attorney’s fees and costs of

    litigation.


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 79. Plaintiff is entitled to Punitive Damages for Defendant Capital Accounts’

     willful transgression of the FBPA.

     PRAYER FOR RELIEF

THEREFORE, Plaintiff prays that this Court grant the following relief against

Defendants:

        a) actual damages;
        b) statutory damages;
        c) treble damages against Capital Accounts;
        d) punitive damages;
        e) attorney’s fees and costs; and
        f) such other relief as this court deems appropriate.

JURY TRIAL DEMANDED

Dated: September 14th, 2020.
                                       Respectfully submitted,

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